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AppendixB
/%Me# 25/-;136 -3/§)¢{

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
DIVISION

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ORIGINAL COMPLAINT

CIVIL ACTION NO.

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